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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------

JOVANIE CLARKE,

                           Plaintiff,

v.

FISHER-PARK LANE OWNER LLC,
FISHER BROTHERS MANAGEMENT CO. LLC,
MARKETAXESS CORPORATION,
MARKETAXESS HOLDINGS INC.,
                                                                        AMENDED COMPLAINT
CONGRUITY,
CONGRUITY 360,
                                                                        Docket No.: 1:19-CV-06471
MSDI LLC,
FAST FLEET JFK, individually and doing
business as FAST FLEET SYSTEMS, INC.,
SMOOTH OPERATORS SERVICES LLC,
individually and doing business as FAST FLEET
– JFK,
WARREN BAINBRIDGE,
NICA, INC., and 3PL INTEGRATION LLC,

                           Defendants.
----------------------------------------------------------------

         Plaintiff, by his attorneys CELLINO & BARNES, P.C., as and for his complaint,

respectfully alleges, as follows:

                                        NATURE OF THE ACTION

         1.       Plaintiff’s complaint is rooted in negligence, carelessness, and/or

recklessness.

         2.       Plaintiff is seeking monetary damages for serious and severe personal

injuries that he sustained in a premises incident.

                                                THE PARTIES
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        3.    Plaintiff, at all times herein mentioned, was and still is a resident of the

County of Fairfield, State of Connecticut.

        4.    At all times herein mentioned, defendant FISHER-PARK LANE OWNER

LLC was a domestic business corporation, organized and existing under the laws of the

State of New York.

        5.    At   all     times    herein   mentioned,   defendant    FISHER      BROTHERS

MANAGEMENT CO. LLC was a domestic business corporation, organized and existing

under the laws of the State of New York.

        6.    Defendant       MARKETAXESS            CORPORATION,      at   all   times   herein

mentioned, was and still is a foreign business corporation, organized and existing under

Delaware law, authorized to conduct business in the State of New York, having a

principal place of business at 55 Hudson Yards, in the City, County, and State of New

York.

        7.    Defendant       MARKETAXESS            CORPORATION,      at   all   times   herein

mentioned, was conducting business in the State of New York.

        8.    At     all    times     herein    mentioned,     defendant      MARKETAXESS

CORPORATION transacted business within the State of New York and/or contracted

anywhere to supply goods or services in the State of New York.

        9.    At     all    times     herein    mentioned,     defendant      MARKETAXESS

CORPORATION committed a tortious act within the State of New York.

        10.   At     all    times     herein    mentioned,     defendant      MARKETAXESS

CORPORATION committed a tortious act without the State of New York, causing injury

to person or property within the State of New York.




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        11.   At   all   times   herein    mentioned,     defendant     MARKETAXESS

CORPORATION owned, used, or possessed any real property situated with the State of

New York.

        12.   Defendant MARKETAXESS HOLDINGS INC., at all times herein

mentioned, was and still is a foreign business corporation, organized and existing under

Delaware law, authorized to conduct business in the State of New York, having a

principal place of business at 55 Hudson Yards, in the City, County, and State of New

York.

        13.   Defendant MARKETAXESS HOLDINGS INC., at all times herein

mentioned, was conducting business in the State of New York.

        14.   At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. transacted business within the State of New York and/or contracted anywhere to

supply goods or services in the State of New York.

        15.   At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. committed a tortious act within the State of New York.

        16.   At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. committed a tortious act without the State of New York, causing injury to person or

property within the State of New York.

        17.   At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. owned, used, or possessed any real property situated with the State of New York.

        18.   Defendant CONGRUITY, at all times herein mentioned, was and still is a

foreign business corporation, organized and existing under Massachusetts law,




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authorized to conduct business in the State of New York, having a principal place of

business at 56 Pembroke Woods Drive, Pembroke, MA 02359.

      19.    Defendant CONGRUITY, at all times herein mentioned, was conducting

business in the State of New York.

      20.    At all times herein mentioned, defendant CONGRUITY transacted

business within the State of New York and/or contracted anywhere to supply goods or

services in the State of New York.

      21.    At all times herein mentioned, defendant CONGRUITY committed a

tortious act within the State of New York.

      22.    At all times herein mentioned, defendant CONGRUITY committed a

tortious act without the State of New York, causing injury to person or property within

the State of New York.

      23.    At all times herein mentioned, defendant CONGRUITY owned, used, or

possessed any real property situated with the State of New York.

      24.    Defendant CONGRUITY 360, at all times herein mentioned, was and still

is a foreign business corporation, organized and existing under Massachusetts law,

authorized to conduct business in the State of New York, having a principal place of

business at 456 Bedford Street, Fall River, MA 02720.

      25.    Defendant CONGRUITY 360, at all times herein mentioned, was

conducting business in the State of New York.

      26.    At all times herein mentioned, defendant CONGRUITY 360 transacted

business within the State of New York and/or contracted anywhere to supply goods or

services in the State of New York.




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      27.      At all times herein mentioned, defendant CONGRUITY 360 committed a

tortious act within the State of New York.

      28.      At all times herein mentioned, defendant CONGRUITY 360 committed a

tortious act without the State of New York, causing injury to person or property within

the State of New York.

      29.      At all times herein mentioned, defendant CONGRUITY 360 owned, used,

or possessed any real property situated with the State of New York.

      30.      Defendant MSDI LLC, at all times herein mentioned, was and still is a

foreign business corporation, organized and existing under Massachusetts law,

authorized to conduct business in the State of New York, having a principal place of

business at 56 Pembroke Woods Drive, Pembroke, MA 02359.

      31.      Defendant MSDI LLC, at all times herein mentioned, was conducting

business in the State of New York.

      32.      At all times herein mentioned, defendant MSDI LLC transacted business

within the State of New York and/or contracted anywhere to supply goods or services in

the State of New York.

      33.      At all times herein mentioned, defendant MSDI LLC committed a tortious

act within the State of New York.

      34.      At all times herein mentioned, defendant MSDI LLC committed a tortious

act without the State of New York, causing injury to person or property within the State

of New York.

      35.      At all times herein mentioned, defendant MSDI LLC owned, used, or

possessed any real property situated with the State of New York.




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      36.    At all times herein mentioned, FAST FLEET JFK was doing business as

FAST FLEET SYSTEMS, INC.

      37.    At all times herein mentioned, defendant FAST FLEET JFK was a

domestic business corporation, organized and existing under the laws of the State of

New York.

      38.    Defendant FAST FLEET JFK, at all times herein mentioned, was and still

is a foreign business corporation, authorized to conduct business in the State of New

York, having a principal place of business at 147-10 181st Street, Jamaica, NY 11413.

      39.    Defendant FAST FLEET JFK, at all times herein mentioned, was

conducting business in the State of New York.

      40.    At all times herein mentioned, defendant FAST FLEET JFK transacted

business within the State of New York and/or contracted anywhere to supply goods or

services in the State of New York.

      41.    At all times herein mentioned, defendant FAST FLEET JFK committed a

tortious act within the State of New York.

      42.    At all times herein mentioned, defendant FAST FLEET JFK committed a

tortious act without the State of New York, causing injury to person or property within

the State of New York.

      43.    At all times herein mentioned, defendant FAST FLEET JFK owned, used,

or possessed any real property situated with the State of New York.

      44.    At all times herein mentioned, SMOOTH OPERATORS SERVICES LLC

was doing business as FAST FLEET – JFK.




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       45.    At all times herein mentioned, defendant SMOOTH OPERATORS

SERVICES LLC was a domestic business corporation, organized and existing under the

laws of the State of New York.

       46.    Defendant SMOOTH OPERATORS SERVICES LLC, at all times herein

mentioned, was and still is a foreign business corporation, authorized to conduct

business in the State of New York, having a principal place of business at 147-10 181st

Street, Jamaica, NY 11413.

       47.    Defendant SMOOTH OPERATORS SERVICES LLC, at all times herein

mentioned, was conducting business in the State of New York.

       48.    At all times herein mentioned, defendant SMOOTH OPERATORS

SERVICES LLC transacted business within the State of New York and/or contracted

anywhere to supply goods or services in the State of New York.

       49.    At all times herein mentioned, defendant SMOOTH OPERATORS

SERVICES LLC committed a tortious act within the State of New York.

       50.    At all times herein mentioned, defendant SMOOTH OPERATORS

SERVICES LLC committed a tortious act without the State of New York, causing injury

to person or property within the State of New York.

       51.    At all times herein mentioned, defendant SMOOTH OPERATORS

SERVICES LLC owned, used, or possessed any real property situated with the State of

New York.

       52.    At all times herein mentioned, defendant WARREN BAINBRIDGE was and

still is a resident of the County of Bronx, State of New York.




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      53.      Defendant NICA, INC., at all times herein mentioned, was and still is a

foreign business corporation, organized and existing under Massachusetts law,

authorized to conduct business in the State of New York, having a principal place of

business at 99 Derby Street, Hingham, MA 02043.

      54.      Defendant NICA, INC., at all times herein mentioned, was conducting

business in the State of New York.

      55.      At all times herein mentioned, defendant NICA, INC. transacted business

within the State of New York and/or contracted anywhere to supply goods or services in

the State of New York.

      56.      At all times herein mentioned, defendant NICA, INC. committed a tortious

act within the State of New York.

      57.      At all times herein mentioned, defendant NICA, INC. committed a tortious

act without the State of New York, causing injury to person or property within the State

of New York.

      58.      At all times herein mentioned, defendant NICA, INC. owned, used, or

possessed any real property situated with the State of New York.

      59.      Defendant 3PL INTEGRATION LLC, at all times herein mentioned, was

and still is a foreign business corporation, organized and existing under Massachusetts

law, authorized to conduct business in the State of New York, having a principal place

of business at 900 Route 134, Ste 2-17, S. Dennis, Massachusetts 02660.

      60.      Defendant 3PL INTEGRATION LLC, at all times herein mentioned, was

conducting business in the State of New York.




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       61.    At all times herein mentioned, defendant 3PL INTEGRATION LLC

transacted business within the State of New York and/or contracted anywhere to supply

goods or services in the State of New York.

       62.    At all times herein mentioned, defendant 3PL INTEGRATION LLC

committed a tortious act within the State of New York.

       63.    At all times herein mentioned, defendant 3PL INTEGRATION LLC

committed a tortious act without the State of New York, causing injury to person or

property within the State of New York.

       64.    At all times herein mentioned, defendant 3PL INTEGRATION LLC owned,

used, or possessed any real property situated with the State of New York.

                               JURISDICTION AND VENUE

       65.    The parties are citizens of different states.

       66.    The amount in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs.

       67.    The foregoing confer this court with original jurisdiction over the subject

matter of this complaint and over parties hereto, pursuant to 28 U.S. Code § 1332.

       68.    Venue is proper and appropriate in the United States District Court Southern

District of New York, pursuant to 28 U.S. Code § 1391(b)(1), because some of the

defendants reside in New York, New York and resided thereat at the time of the subject

incident.

       69.    Venue is proper and appropriate in the United States District Court Southern

District of New York pursuant to 28 U.S. Code § 1391(b)(2) because the premises

incident, which is the subject matter of this action, occurred in New York, New York.




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                      FACTUAL BACKGROUND & CAUSE OF ACTION

      70.      On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC was

the owner of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      71.      On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC was

the lessor of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      72.      On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC was a

lessee of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      73.      On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC

maintained certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      74.      On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC

managed certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      75.      On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC

controlled certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      76.      On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC

supervised certain premises located at 299 Park Avenue, in the City, County, and State

of New York.




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       77.     On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC

inspected certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

       78.     On or before March 29, 2019, defendant FISHER-PARK LANE OWNER

LLC designed certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

       79.     On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC

operated certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

       80.     On March 29, 2019, it was the duty of defendant FISHER-PARK LANE

OWNER LLC, by its agents, servants, and/or employees, to keep the premises located

at 299 Park Avenue, in the City, County, and State of New York in a reasonably safe

condition.

       81.     On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

FISHER BROTHERS MANAGEMENT CO. LLC for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

       82.     On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS CORPORATION for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain




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electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        83.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS HOLDINGS INC. for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        84.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

CONGRUITY for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        85.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

CONGRUITY 360 for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        86.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

MSDI LLC for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.




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        87.    On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

FAST FLEET JFK for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        88.    On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

FAST FLEET SYSTEMS, INC. for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        89.    On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

SMOOTH OPERATORS SERVICES LLC for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of

certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.

        90.    On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

FAST FLEET – JFK for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.




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        91.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

WARREN BAINBRIDGE for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        92.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

NICA, INC. for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        93.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with defendant

3PL INTEGRATION LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        94.   On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC entered into a contract and/or agreement (written or oral) with plaintiff’s

employer for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.




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      95.    On and/or before March 29, 2019, defendant FISHER-PARK LANE

OWNER LLC directed, managed, and/or controlled the provision and performance of

certain work, labor, and/or services located at 299 Park Avenue, in the City, County,

and State of New York.

      96.    On or before March 29, 2019, defendant FISHER-PARK LANE OWNER

LLC hired individuals and/or entities to provide and perform certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      97.    On or before March 29, 2019, defendant FISHER-PARK LANE OWNER

LLC entered into an agreement and/or contract (written or oral) for it to provide certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      98.    On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC was

the manager for work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      99.    On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC was

the general contractor for certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      100.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees performed certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.




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      101.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees supervised certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      102.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees directed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      103.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees inspected certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      104.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees regulated certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      105.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees controlled certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      106.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees managed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      107.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees maintained certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      108.   On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees provided certain supplies for certain work, labor,




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and/or services at the premises known as 299 Park Avenue, In the City, County, and

State of New York.

      109.    On March 29, 2019, defendant FISHER-PARK LANE OWNER LLC, its

agents, servants, and/or employees provided certain tools for certain work, labor, and/or

services at the premises known as 299 Park Avenue, In the City, County, and State of

New York.

      110.    On March 29, 2019, it was the duty of defendant FISHER-PARK LANE

OWNER LLC to provide a reasonably safe place to work for people performing

alteration and other covered work at the site.

      111.    On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC was the owner of certain premises located at 299 Park Avenue, in the City, County,

and State of New York.

      112.    On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC was the lessor of certain premises located at 299 Park Avenue, in the City, County,

and State of New York.

      113.    On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC was a lessee of certain premises located at 299 Park Avenue, in the City, County,

and State of New York.

      114.    On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC maintained certain premises located at 299 Park Avenue, in the City, County, and

State of New York.




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      115.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC managed certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      116.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC controlled certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      117.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC supervised certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      118.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC inspected certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      119.   On or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC designed certain premises located at 299 Park Avenue, in the

City, County, and State of New York.

      120.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC operated certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      121.   On March 29, 2019, it was the duty of defendant FISHER BROTHERS

MANAGEMENT CO. LLC, by its agents, servants, and/or employees, to keep the

premises located at 299 Park Avenue, in the City, County, and State of New York in a

reasonably safe condition.




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       122.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant FISHER-PARK LANE OWNER LLC for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

       123.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS CORPORATION for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

       124.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS HOLDINGS INC. for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

       125.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant CONGRUITY for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.




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        126.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant CONGRUITY 360 for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        127.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant MSDI LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        128.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET JFK for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        129.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET SYSTEMS, INC. for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of

certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.




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        130.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant SMOOTH OPERATORS SERVICES LLC for the provision and performance

of certain work, labor, and/or services, including but not necessarily limited to the

transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.

        131.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET – JFK for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        132.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant WARREN BAINBRIDGE for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        133.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant NICA, INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.




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        134.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

defendant 3PL INTEGRATION LLC for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        135.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into a contract and/or agreement (written or oral) with

plaintiff’s employer for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        136.   On and/or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC directed, managed, and/or controlled the provision and

performance of certain work, labor, and/or services located at 299 Park Avenue, in the

City, County, and State of New York.

        137.   On or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC hired individuals and/or entities to provide and perform certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

        138.   On or before March 29, 2019, defendant FISHER BROTHERS

MANAGEMENT CO. LLC entered into an agreement and/or contract (written or oral) for

it to provide certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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      139.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC was the manager for work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      140.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC was the general contractor for certain work, labor, and/or services at the premises

known as 299 Park Avenue, in the City, County, and State of New York.

      141.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees performed certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      142.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees supervised certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      143.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees directed certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      144.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees inspected certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.




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      145.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees regulated certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      146.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees controlled certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      147.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees managed certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      148.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees maintained certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      149.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees provided certain supplies for certain work,

labor, and/or services at the premises known as 299 Park Avenue, In the City, County,

and State of New York.

      150.   On March 29, 2019, defendant FISHER BROTHERS MANAGEMENT CO.

LLC, its agents, servants, and/or employees provided certain tools for certain work,




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labor, and/or services at the premises known as 299 Park Avenue, In the City, County,

and State of New York.

      151.     On March 29, 2019, it was the duty of defendant FISHER BROTHERS

MANAGEMENT CO. LLC to provide a reasonably safe place to work for people

performing alteration and other covered work at the site.

      152.     On March 29, 2019, defendant MARKETAXESS CORPORATION was the

owner of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      153.     On March 29, 2019, defendant MARKETAXESS CORPORATION was the

lessor of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      154.     On March 29, 2019, defendant MARKETAXESS CORPORATION was a

lessee of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      155.     On March 29, 2019, defendant MARKETAXESS CORPORATION

maintained certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      156.     On March 29, 2019, defendant MARKETAXESS CORPORATION

managed certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      157.     On March 29, 2019, defendant MARKETAXESS CORPORATION

controlled certain premises located at 299 Park Avenue, in the City, County, and State

of New York.




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       158.    On March 29, 2019, defendant MARKETAXESS CORPORATION

supervised certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

       159.    On March 29, 2019, defendant MARKETAXESS CORPORATION

inspected certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

       160.    On    or   before   March        29,    2019,    defendant     MARKETAXESS

CORPORATION designed certain premises located at 299 Park Avenue, in the City,

County, and State of New York.

       161.    On March 29, 2019, defendant MARKETAXESS CORPORATION

operated certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

       162.    On March 29, 2019, it was the duty of defendant MARKETAXESS

CORPORATION, by its agents, servants, and/or employees, to keep the premises

located at 299 Park Avenue, in the City, County, and State of New York in a reasonably

safe condition.

       163.    On    and/or   before    March    29,    2019,   defendant     MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant FISHER-PARK LANE OWNER LLC for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.




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        164.   On    and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant FISHER BROTHERS MANAGEMENT CO. LLC for the provision and

performance of certain work, labor, and/or services, including but not necessarily limited

to the transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.

        165.   On    and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS HOLDINGS INC. for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

        166.   On    and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant CONGRUITY for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        167.   On    and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant CONGRUITY 360 for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.




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        168.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant MSDI LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        169.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET JFK for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        170.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET SYSTEMS, INC. for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of

certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.

        171.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant SMOOTH OPERATORS SERVICES LLC for the provision and performance

of certain work, labor, and/or services, including but not necessarily limited to the

transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.




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        172.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET – JFK for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        173.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant WARREN BAINBRIDGE for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        174.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant NICA, INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        175.   On   and/or   before    March   29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant 3PL INTEGRATION LLC for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.




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      176.   On    and/or   before    March    29,    2019,   defendant     MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

plaintiff’s employer for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

      177.   On    and/or   before    March    29,    2019,   defendant     MARKETAXESS

CORPORATION directed, managed, and/or controlled the provision and performance of

certain work, labor, and/or services located at 299 Park Avenue, in the City, County,

and State of New York.

      178.   On    or    before   March       29,    2019,    defendant     MARKETAXESS

CORPORATION hired individuals and/or entities to provide and perform certain work,

labor, and/or services at the premises known as 299 Park Avenue, in the City, County,

and State of New York.

      179.   On    or    before   March       29,    2019,    defendant     MARKETAXESS

CORPORATION entered into an agreement and/or contract (written or oral) for it to

provide certain work, labor, and/or services at the premises known as 299 Park Avenue,

in the City, County, and State of New York.

      180.   On March 29, 2019, defendant MARKETAXESS CORPORATION was the

manager for work, labor, and/or services at the premises known as 299 Park Avenue, in

the City, County, and State of New York.

      181.   On March 29, 2019, defendant MARKETAXESS CORPORATION was the

general contractor for certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.




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      182.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees performed certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      183.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees supervised certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      184.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees directed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      185.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees inspected certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      186.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees regulated certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      187.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees controlled certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      188.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees managed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.




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      189.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees maintained certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      190.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees provided certain supplies for certain work, labor,

and/or services at the premises known as 299 Park Avenue, In the City, County, and

State of New York.

      191.   On March 29, 2019, defendant MARKETAXESS CORPORATION, its

agents, servants, and/or employees provided certain tools for certain work, labor, and/or

services at the premises known as 299 Park Avenue, In the City, County, and State of

New York.

      192.   On March 29, 2019, it was the duty of defendant MARKETAXESS

CORPORATION, its agents, servants, and/or employees to provide a reasonably safe

place to work for people performing alteration and other covered work at the site.

      193.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

owner of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      194.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

lessor of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      195.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was a

lessee of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.




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      196.     On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

maintained certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      197.     On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

managed certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      198.     On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

controlled certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      199.     On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

supervised certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      200.     On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

inspected certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      201.     On or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. designed certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      202.     On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

operated certain premises located at 299 Park Avenue, in the City, County, and State of

New York.




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        203.   On March 29, 2019, it was the duty of defendant MARKETAXESS

HOLDINGS INC. to keep the premises located at 299 Park Avenue, in the City, County,

and State of New York in a reasonably safe condition.

        204.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant FISHER-

PARK LANE OWNER LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        205.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant FISHER

BROTHERS MANAGEMENT CO. LLC for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of

certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.

        206.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS CORPORATION for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        207.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant




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CONGRUITY for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

       208.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant

CONGRUITY 360 for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

       209.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant MSDI

LLC for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

       210.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant FAST

FLEET JFK for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

       211.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant FAST

FLEET SYSTEMS, INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.




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        212.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant SMOOTH

OPERATORS SERVICES LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        213.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant FAST

FLEET – JFK for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        214.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant WARREN

BAINBRIDGE for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        215.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant NICA,

INC. for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        216.   On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant 3PL




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INTEGRATION LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

      217.     On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with plaintiff’s employer

for the provision and performance of certain work, labor, and/or services, including but

not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

      218.     On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. directed, managed, and/or controlled the provision and performance of certain

work, labor, and/or services located at 299 Park Avenue, in the City, County, and State

of New York.

      219.     On or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. hired individuals and/or entities to provide and perform certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      220.     On or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into an agreement and/or contract (written or oral) for it to provide certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      221.     On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

manager for work, labor, and/or services at the premises known as 299 Park Avenue, in

the City, County, and State of New York.




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      222.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

general contractor for certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      223.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees performed certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      224.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees supervised certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      225.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees directed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      226.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees inspected certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      227.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees regulated certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      228.   On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees controlled certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.




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      229.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees managed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      230.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees maintained certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      231.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees provided certain supplies for certain work, labor,

and/or services at the premises known as 299 Park Avenue, In the City, County, and

State of New York.

      232.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. , its

agents, servants, and/or employees provided certain tools for certain work, labor, and/or

services at the premises known as 299 Park Avenue, In the City, County, and State of

New York.

      233.    On March 29, 2019, it was the duty of defendant MARKETAXESS

HOLDINGS INC. to provide a reasonably safe place to work for people performing

alteration and other covered work at the site.

      234.    On March 29, 2019, defendant CONGRUITY was the owner of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      235.    On March 29, 2019, defendant CONGRUITY was the lessor of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      236.    On March 29, 2019, defendant CONGRUITY was a lessee of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.




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      237.   On March 29, 2019, defendant CONGRUITY maintained certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      238.   On March 29, 2019, defendant CONGRUITY managed certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      239.   On March 29, 2019, defendant CONGRUITY controlled certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      240.   On March 29, 2019, defendant CONGRUITY supervised certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      241.   On March 29, 2019, defendant CONGRUITY inspected certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      242.   On or before March 29, 2019, defendant CONGRUITY designed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      243.   On March 29, 2019, defendant CONGRUITY operated certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      244.   On March 29, 2019, it was the duty of defendant CONGRUITY, by its

agents, servants, and/or employees, to keep the premises located at 299 Park Avenue,

in the City, County, and State of New York in a reasonably safe condition.

      245.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant FISHER-PARK LANE

OWNER LLC for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.




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        246.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant FISHER BROTHERS

MANAGEMENT CO. LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        247.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant               MARKETAXESS

CORPORATION for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        248.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant MARKETAXESS HOLDINGS

INC. for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        249.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant CONGRUITY 360 for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        250.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant MSDI LLC for the provision




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and performance of certain work, labor, and/or services, including but not necessarily

limited to the transport of certain electronic equipment located at 299 Park Avenue, in

the City, County, and State of New York.

       251.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET JFK for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       252.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET SYSTEMS,

INC. for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

       253.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant SMOOTH OPERATORS

SERVICES LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

       254.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET – JFK for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.




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       255.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant WARREN BAINBRIDGE for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       256.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant NICA, INC. for the provision

and performance of certain work, labor, and/or services, including but not necessarily

limited to the transport of certain electronic equipment located at 299 Park Avenue, in

the City, County, and State of New York.

       257.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with defendant 3PL INTEGRATION LLC for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       258.   On and/or before March 29, 2019, defendant CONGRUITY entered into a

contract and/or agreement (written or oral) with plaintiff’s employer for the provision and

performance of certain work, labor, and/or services, including but not necessarily limited

to the transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.

       259.   On and/or before March 29, 2019, defendant CONGRUITY directed,

managed, and/or controlled the provision and performance of certain work, labor, and/or

services located at 299 Park Avenue, in the City, County, and State of New York.




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      260.   On or before March 29, 2019, defendant CONGRUITY hired individuals

and/or entities to provide and perform certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      261.   On or before March 29, 2019, defendant CONGRUITY entered into an

agreement and/or contract (written or oral) for it to provide certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      262.   On March 29, 2019, defendant CONGRUITY was the manager for work,

labor, and/or services at the premises known as 299 Park Avenue, in the City, County,

and State of New York.

      263.   On March 29, 2019, defendant CONGRUITY was the general contractor

for certain work, labor, and/or services at the premises known as 299 Park Avenue, in

the City, County, and State of New York.

      264.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees performed certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      265.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees supervised certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      266.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees directed certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.




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      267.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees inspected certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      268.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees regulated certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      269.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees controlled certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      270.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees managed certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      271.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees maintained certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      272.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees provided certain supplies for certain work, labor, and/or services at the

premises known as 299 Park Avenue, In the City, County, and State of New York.

      273.   On March 29, 2019, defendant CONGRUITY, its agents, servants, and/or

employees provided certain tools for certain work, labor, and/or services at the premises

known as 299 Park Avenue, In the City, County, and State of New York.




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        274.   On March 29, 2019, it was the duty of defendant CONGRUITY to provide

a reasonably safe place to work for people performing alteration and other covered work

at the site.

        275.   On March 29, 2019, defendant CONGRUITY 360 was the owner of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        276.   On March 29, 2019, defendant CONGRUITY 360 was the lessor of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        277.   On March 29, 2019, defendant CONGRUITY 360 was a lessee of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        278.   On March 29, 2019, defendant CONGRUITY 360 maintained certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        279.   On March 29, 2019, defendant CONGRUITY 360 managed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        280.   On March 29, 2019, defendant CONGRUITY 360 controlled certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        281.   On March 29, 2019, defendant CONGRUITY 360 supervised certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        282.   On March 29, 2019, defendant CONGRUITY 360 inspected certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        283.   On or before March 29, 2019, defendant CONGRUITY 360 designed

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.




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        284.   On March 29, 2019, defendant CONGRUITY 360 operated certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        285.   On March 29, 2019, it was the duty of defendant CONGRUITY 360, by its

agents, servants, and/or employees, to keep the premises located at 299 Park Avenue,

in the City, County, and State of New York in a reasonably safe condition.

        286.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant FISHER-PARK LANE

OWNER LLC for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        287.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant FISHER BROTHERS

MANAGEMENT CO. LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        288.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant MARKETAXESS

CORPORATION for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        289.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant MARKETAXESS




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HOLDINGS INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

      290.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant CONGRUITY for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      291.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant MSDI LLC for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      292.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant FAST FLEET JFK for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      293.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant FAST FLEET

SYSTEMS, INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.




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        294.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant SMOOTH

OPERATORS SERVICES LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        295.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant FAST FLEET – JFK for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        296.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant WARREN

BAINBRIDGE for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        297.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant NICA, INC. for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        298.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with defendant 3PL INTEGRATION




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LLC for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

       299.   On and/or before March 29, 2019, defendant CONGRUITY 360 entered

into a contract and/or agreement (written or oral) with plaintiff’s employer for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       300.   On and/or before March 29, 2019, defendant CONGRUITY 360 directed,

managed, and/or controlled the provision and performance of certain work, labor, and/or

services located at 299 Park Avenue, in the City, County, and State of New York.

       301.   On or before March 29, 2019, defendant CONGRUITY 360 hired

individuals and/or entities to provide and perform certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

       302.   On or before March 29, 2019, defendant CONGRUITY 360 entered into

an agreement and/or contract (written or oral) for it to provide certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

       303.   On March 29, 2019, defendant CONGRUITY 360 was the manager for

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.




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      304.   On March 29, 2019, defendant CONGRUITY 360 was the general

contractor for certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      305.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees performed certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      306.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees supervised certain work, labor, and/or services at the premises

known as 299 Park Avenue, in the City, County, and State of New York.

      307.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees directed certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      308.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees inspected certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      309.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees regulated certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      310.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees controlled certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.




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      311.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees managed certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      312.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees maintained certain work, labor, and/or services at the premises

known as 299 Park Avenue, in the City, County, and State of New York.

      313.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees provided certain supplies for certain work, labor, and/or services at

the premises known as 299 Park Avenue, In the City, County, and State of New York.

      314.   On March 29, 2019, defendant CONGRUITY 360, its agents, servants,

and/or employees provided certain tools for certain work, labor, and/or services at the

premises known as 299 Park Avenue, In the City, County, and State of New York.

      315.   On March 29, 2019, it was the duty of defendant CONGRUITY 360 to

provide a reasonably safe place to work for people performing alteration and other

covered work at the site.

      316.   On March 29, 2019, defendant MSDI LLC was the owner of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      317.   On March 29, 2019, defendant MSDI LLC was the lessor of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      318.   On March 29, 2019, defendant MSDI LLC was a lessee of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      319.   On March 29, 2019, defendant MSDI LLC maintained certain premises

located at 299 Park Avenue, in the City, County, and State of New York.




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      320.   On March 29, 2019, defendant MSDI LLC managed certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      321.   On March 29, 2019, defendant MSDI LLC controlled certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      322.   On March 29, 2019, defendant MSDI LLC supervised certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      323.   On March 29, 2019, defendant MSDI LLC inspected certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      324.   On or before March 29, 2019, defendant MSDI LLC designed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      325.   On March 29, 2019, defendant MSDI LLC operated certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      326.   On March 29, 2019, it was the duty of defendant MSDI LLC, by its agents,

servants, and/or employees, to keep the premises located at 299 Park Avenue, in the

City, County, and State of New York in a reasonably safe condition.

      327.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant FISHER-PARK LANE

OWNER LLC for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

      328.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant FISHER BROTHERS

MANAGEMENT CO. LLC for the provision and performance of certain work, labor,




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and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        329.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant               MARKETAXESS

CORPORATION for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        330.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant MARKETAXESS HOLDINGS

INC. for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        331.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant CONGRUITY for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        332.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant CONGRUITY 360 for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.




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       333.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET JFK for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       334.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET SYSTEMS,

INC. for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

       335.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant SMOOTH OPERATORS

SERVICES LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

       336.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET – JFK for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       337.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant WARREN BAINBRIDGE for

the provision and performance of certain work, labor, and/or services, including but not




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necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       338.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant NICA, INC. for the provision

and performance of certain work, labor, and/or services, including but not necessarily

limited to the transport of certain electronic equipment located at 299 Park Avenue, in

the City, County, and State of New York.

       339.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with defendant 3PL INTEGRATION LLC for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       340.   On and/or before March 29, 2019, defendant MSDI LLC entered into a

contract and/or agreement (written or oral) with plaintiff’s employer for the provision and

performance of certain work, labor, and/or services, including but not necessarily limited

to the transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.

       341.   On and/or before March 29, 2019, defendant MSDI LLC directed,

managed, and/or controlled the provision and performance of certain work, labor, and/or

services located at 299 Park Avenue, in the City, County, and State of New York.

       342.   On or before March 29, 2019, defendant MSDI LLC hired individuals

and/or entities to provide and perform certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.




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      343.   On or before March 29, 2019, defendant MSDI LLC entered into an

agreement and/or contract (written or oral) for it to provide certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      344.   On March 29, 2019, defendant MSDI LLC was the manager for work,

labor, and/or services at the premises known as 299 Park Avenue, in the City, County,

and State of New York.

      345.   On March 29, 2019, defendant MSDI LLC was the general contractor for

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.

      346.   On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees performed certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      347.   On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees supervised certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      348.   On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees directed certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      349.   On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees inspected certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.




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       350.    On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees regulated certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

       351.    On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees controlled certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

       352.    On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees managed certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

       353.    On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees maintained certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

       354.    On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees provided certain supplies for certain work, labor, and/or services at the

premises known as 299 Park Avenue, In the City, County, and State of New York.

       355.    On March 29, 2019, defendant MSDI LLC, its agents, servants, and/or

employees provided certain tools for certain work, labor, and/or services at the premises

known as 299 Park Avenue, In the City, County, and State of New York.

       356.    On March 29, 2019, it was the duty of defendant MSDI LLC to provide a

reasonably safe place to work for people performing alteration and other covered work

at the site.

       357.    On March 29, 2019, defendant FAST FLEET JFK was the owner of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.




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        358.   On March 29, 2019, defendant FAST FLEET JFK was the lessor of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        359.   On March 29, 2019, defendant FAST FLEET JFK was a lessee of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        360.   On March 29, 2019, defendant FAST FLEET JFK maintained certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        361.   On March 29, 2019, defendant FAST FLEET JFK managed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        362.   On March 29, 2019, defendant FAST FLEET JFK controlled certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        363.   On March 29, 2019, defendant FAST FLEET JFK supervised certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        364.   On March 29, 2019, defendant FAST FLEET JFK inspected certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        365.   On or before March 29, 2019, defendant FAST FLEET JFK designed

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        366.   On March 29, 2019, defendant FAST FLEET JFK operated certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        367.   On March 29, 2019, it was the duty of defendant FAST FLEET JFK, by its

agents, servants, and/or employees, to keep the premises located at 299 Park Avenue,

in the City, County, and State of New York in a reasonably safe condition.




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        368.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant FISHER-PARK LANE

OWNER LLC for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        369.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant FISHER BROTHERS

MANAGEMENT CO. LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        370.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant MARKETAXESS

CORPORATION for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        371.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant MARKETAXESS

HOLDINGS INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        372.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant CONGRUITY for the




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provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      373.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant CONGRUITY 360 for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      374.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant MSDI LLC for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      375.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant FAST FLEET

SYSTEMS, INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

      376.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant SMOOTH

OPERATORS SERVICES LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain




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electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        377.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant FAST FLEET – JFK for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        378.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant WARREN

BAINBRIDGE for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        379.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant NICA, INC. for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        380.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with defendant 3PL INTEGRATION

LLC for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.




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       381.   On and/or before March 29, 2019, defendant FAST FLEET JFK entered

into a contract and/or agreement (written or oral) with plaintiff’s employer for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       382.   On and/or before March 29, 2019, defendant FAST FLEET JFK directed,

managed, and/or controlled the provision and performance of certain work, labor, and/or

services located at 299 Park Avenue, in the City, County, and State of New York.

       383.   On or before March 29, 2019, defendant FAST FLEET JFK hired

individuals and/or entities to provide and perform certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

       384.   On or before March 29, 2019, defendant FAST FLEET JFK entered into

an agreement and/or contract (written or oral) for it to provide certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

       385.   On March 29, 2019, defendant FAST FLEET JFK was the manager for

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

       386.   On March 29, 2019, defendant FAST FLEET JFK was the general

contractor for certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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      387.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees performed certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      388.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees supervised certain work, labor, and/or services at the premises

known as 299 Park Avenue, in the City, County, and State of New York.

      389.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees directed certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      390.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees inspected certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      391.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees regulated certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      392.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees controlled certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      393.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees managed certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.




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      394.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees maintained certain work, labor, and/or services at the premises

known as 299 Park Avenue, in the City, County, and State of New York.

      395.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees provided certain supplies for certain work, labor, and/or services at

the premises known as 299 Park Avenue, In the City, County, and State of New York.

      396.   On March 29, 2019, defendant FAST FLEET JFK, its agents, servants,

and/or employees provided certain tools for certain work, labor, and/or services at the

premises known as 299 Park Avenue, In the City, County, and State of New York.

      397.   On March 29, 2019, it was the duty of defendant FAST FLEET JFK to

provide a reasonably safe place to work for people performing alteration and other

covered work at the site.

      398.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

was the owner of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      399.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

was the lessor of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      400.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

was a lessee of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.




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      401.     On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

maintained certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      402.     On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

managed certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      403.     On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

controlled certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      404.     On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

supervised certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      405.     On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

inspected certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      406.     On or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC designed certain premises located at 299 Park Avenue, in the City,

County, and State of New York.

      407.     On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

operated certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      408.     On March 29, 2019, it was the duty of defendant SMOOTH OPERATORS

SERVICES LLC, by its agents, servants, and/or employees, to keep the premises




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located at 299 Park Avenue, in the City, County, and State of New York in a reasonably

safe condition.

       409.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant FISHER-PARK LANE OWNER LLC for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

       410.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant FISHER BROTHERS MANAGEMENT CO. LLC for the provision and

performance of certain work, labor, and/or services, including but not necessarily limited

to the transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.

       411.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS CORPORATION for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

       412.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS HOLDINGS INC. for the provision and performance of




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certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

        413.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant CONGRUITY for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        414.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant CONGRUITY 360 for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        415.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant MSDI LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        416.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET SYSTEMS, INC. for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of




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certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.

        417.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET JFK for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        418.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant FAST FLEET – JFK for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        419.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant WARREN BAINBRIDGE for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        420.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant NICA, INC. for the provision and performance of certain work, labor, and/or




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services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        421.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with

defendant 3PL INTEGRATION LLC for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        422.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into a contract and/or agreement (written or oral) with plaintiff’s

employer for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

        423.   On and/or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC directed, managed, and/or controlled the provision and performance of

certain work, labor, and/or services located at 299 Park Avenue, in the City, County,

and State of New York.

        424.   On or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC hired individuals and/or entities to provide and perform certain work,

labor, and/or services at the premises known as 299 Park Avenue, in the City, County,

and State of New York.

        425.   On or before March 29, 2019, defendant SMOOTH OPERATORS

SERVICES LLC entered into an agreement and/or contract (written or oral) for it to




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provide certain work, labor, and/or services at the premises known as 299 Park Avenue,

in the City, County, and State of New York.

      426.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

was the manager for work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      427.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC

was the general contractor for certain work, labor, and/or services at the premises

known as 299 Park Avenue, in the City, County, and State of New York.

      428.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees performed certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      429.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees supervised certain work, labor, and/or services

at the premises known as 299 Park Avenue, in the City, County, and State of New York.

      430.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees directed certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      431.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees inspected certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      432.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees regulated certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.




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        433.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees controlled certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

        434.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees managed certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

        435.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees maintained certain work, labor, and/or services

at the premises known as 299 Park Avenue, in the City, County, and State of New York.

        436.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees provided certain supplies for certain work, labor,

and/or services at the premises known as 299 Park Avenue, In the City, County, and

State of New York.

        437.   On March 29, 2019, defendant SMOOTH OPERATORS SERVICES LLC,

its agents, servants, and/or employees provided certain tools for certain work, labor,

and/or services at the premises known as 299 Park Avenue, In the City, County, and

State of New York.

        438.   On March 29, 2019, it was the duty of defendant SMOOTH OPERATORS

SERVICES LLC to provide a reasonably safe place to work for people performing

alteration and other covered work at the site.

        439.   On March 29, 2019, defendant WARREN BAINBRIDGE was the owner of

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.




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        440.   On March 29, 2019, defendant WARREN BAINBRIDGE was the lessor of

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        441.   On March 29, 2019, defendant WARREN BAINBRIDGE was a lessee of

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        442.   On March 29, 2019, defendant WARREN BAINBRIDGE maintained

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        443.   On March 29, 2019, defendant WARREN BAINBRIDGE managed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        444.   On March 29, 2019, defendant WARREN BAINBRIDGE controlled certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        445.   On March 29, 2019, defendant WARREN BAINBRIDGE supervised certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        446.   On March 29, 2019, defendant WARREN BAINBRIDGE inspected certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        447.   On or before March 29, 2019, defendant WARREN BAINBRIDGE

designed certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

        448.   On March 29, 2019, defendant WARREN BAINBRIDGE operated certain

premises located at 299 Park Avenue, in the City, County, and State of New York.




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        449.   On March 29, 2019, it was the duty of defendant WARREN BAINBRIDGE,

by its agents, servants, and/or employees, to keep the premises located at 299 Park

Avenue, in the City, County, and State of New York in a reasonably safe condition.

        450.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant FISHER-PARK

LANE OWNER LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        451.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant FISHER

BROTHERS MANAGEMENT CO. LLC for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of

certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.

        452.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS CORPORATION for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        453.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS HOLDINGS INC. for the provision and performance of certain work,




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labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        454.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant CONGRUITY

for the provision and performance of certain work, labor, and/or services, including but

not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        455.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant CONGRUITY

360 for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        456.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant MSDI LLC for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        457.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant FAST FLEET

SYSTEMS, INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.




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        458.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant FAST FLEET

JFK for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        459.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant FAST FLEET –

JFK for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        460.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant SMOOTH

OPERATORS SERVICES LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        461.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant NICA, INC. for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        462.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with defendant 3PL




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INTEGRATION LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

       463.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

entered into a contract and/or agreement (written or oral) with plaintiff’s employer for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       464.   On and/or before March 29, 2019, defendant WARREN BAINBRIDGE

directed, managed, and/or controlled the provision and performance of certain work,

labor, and/or services located at 299 Park Avenue, in the City, County, and State of

New York.

       465.   On or before March 29, 2019, defendant WARREN BAINBRIDGE hired

individuals and/or entities to provide and perform certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

       466.   On or before March 29, 2019, defendant WARREN BAINBRIDGE entered

into an agreement and/or contract (written or oral) for it to provide certain work, labor,

and/or services at the premises known as 299 Park Avenue, in the City, County, and

State of New York.

       467.   On March 29, 2019, defendant WARREN BAINBRIDGE was the manager

for work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.




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      468.   On March 29, 2019, defendant WARREN BAINBRIDGE was the general

contractor for certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      469.   On March 29, 2019, defendant WARREN BAINBRIDGE performed certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      470.   On March 29, 2019, defendant WARREN BAINBRIDGE supervised

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.

      471.   On March 29, 2019, defendant WARREN BAINBRIDGE directed certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      472.   On March 29, 2019, defendant WARREN BAINBRIDGE inspected certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      473.   On March 29, 2019, defendant WARREN BAINBRIDGE regulated certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      474.   On March 29, 2019, defendant WARREN BAINBRIDGE controlled certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.




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      475.   On March 29, 2019, defendant WARREN BAINBRIDGE managed certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      476.   On March 29, 2019, defendant WARREN BAINBRIDGE maintained

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.

      477.   On March 29, 2019, defendant WARREN BAINBRIDGE provided certain

supplies for certain work, labor, and/or services at the premises known as 299 Park

Avenue, In the City, County, and State of New York.

      478.   On March 29, 2019, defendant WARREN BAINBRIDGE provided certain

tools for certain work, labor, and/or services at the premises known as 299 Park

Avenue, In the City, County, and State of New York.

      479.   On March 29, 2019, it was the duty of defendant WARREN BAINBRIDGE

to provide a reasonably safe place to work for people performing alteration and other

covered work at the site.

      480.   On March 29, 2019, defendant NICA, INC. was the owner of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      481.   On March 29, 2019, defendant NICA, INC. was the lessor of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      482.   On March 29, 2019, defendant NICA, INC. was a lessee of certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      483.   On March 29, 2019, defendant NICA, INC. maintained certain premises

located at 299 Park Avenue, in the City, County, and State of New York.




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      484.   On March 29, 2019, defendant NICA, INC. managed certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      485.   On March 29, 2019, defendant NICA, INC. controlled certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      486.   On March 29, 2019, defendant NICA, INC. supervised certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      487.   On March 29, 2019, defendant NICA, INC. inspected certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      488.   On or before March 29, 2019, defendant NICA, INC. designed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      489.   On March 29, 2019, defendant NICA, INC. operated certain premises

located at 299 Park Avenue, in the City, County, and State of New York.

      490.   On March 29, 2019, it was the duty of defendant NICA, INC., by its agents,

servants, and/or employees, to keep the premises located at 299 Park Avenue, in the

City, County, and State of New York in a reasonably safe condition.

      491.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant FISHER-PARK LANE

OWNER LLC for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

      492.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant FISHER BROTHERS

MANAGEMENT CO. LLC for the provision and performance of certain work, labor,




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and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        493.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant               MARKETAXESS

CORPORATION for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        494.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant MARKETAXESS HOLDINGS

INC. for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        495.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant CONGRUITY for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

        496.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant CONGRUITY 360 for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.




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       497.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant MSDI LLC for the provision

and performance of certain work, labor, and/or services, including but not necessarily

limited to the transport of certain electronic equipment located at 299 Park Avenue, in

the City, County, and State of New York.

       498.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET SYSTEMS,

INC. for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

       499.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET JFK for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       500.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant FAST FLEET – JFK for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       501.   On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant SMOOTH OPERATORS

SERVICES LLC for the provision and performance of certain work, labor, and/or




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services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

      502.    On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant WARREN BAINBRIDGE for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      503.    On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with defendant 3PL INTEGRATION LLC for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      504.    On and/or before March 29, 2019, defendant NICA, INC. entered into a

contract and/or agreement (written or oral) with plaintiff’s employer for the provision and

performance of certain work, labor, and/or services, including but not necessarily limited

to the transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.

      505.    On and/or before March 29, 2019, defendant NICA, INC. directed,

managed, and/or controlled the provision and performance of certain work, labor, and/or

services located at 299 Park Avenue, in the City, County, and State of New York.

      506.    On or before March 29, 2019, defendant NICA, INC. hired individuals

and/or entities to provide and perform certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.




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      507.   On or before March 29, 2019, defendant NICA, INC. entered into an

agreement and/or contract (written or oral) for it to provide certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      508.   On March 29, 2019, defendant NICA, INC. was the manager for work,

labor, and/or services at the premises known as 299 Park Avenue, in the City, County,

and State of New York.

      509.   On March 29, 2019, defendant NICA, INC. was the general contractor for

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.

      510.   On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees performed certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      511.   On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees supervised certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      512.   On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees directed certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      513.   On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees inspected certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.




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       514.    On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees regulated certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

       515.    On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees controlled certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

       516.    On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees managed certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

       517.    On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees maintained certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

       518.    On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees provided certain supplies for certain work, labor, and/or services at the

premises known as 299 Park Avenue, In the City, County, and State of New York.

       519.    On March 29, 2019, defendant NICA, INC., its agents, servants, and/or

employees provided certain tools for certain work, labor, and/or services at the premises

known as 299 Park Avenue, In the City, County, and State of New York.

       520.    On March 29, 2019, it was the duty of defendant NICA, INC. to provide a

reasonably safe place to work for people performing alteration and other covered work

at the site.




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        521.   On March 29, 2019, defendant 3PL INTEGRATION LLC was the owner of

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        522.   On March 29, 2019, defendant 3PL INTEGRATION LLC was the lessor of

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        523.   On March 29, 2019, defendant 3PL INTEGRATION LLC was a lessee of

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        524.   On March 29, 2019, defendant 3PL INTEGRATION LLC maintained

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        525.   On March 29, 2019, defendant 3PL INTEGRATION LLC managed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        526.   On March 29, 2019, defendant 3PL INTEGRATION LLC controlled certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        527.   On March 29, 2019, defendant 3PL INTEGRATION LLC supervised

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        528.   On March 29, 2019, defendant 3PL INTEGRATION LLC inspected certain

premises located at 299 Park Avenue, in the City, County, and State of New York.




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      529.     On or before March 29, 2019, defendant 3PL INTEGRATION LLC

designed certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      530.     On March 29, 2019, defendant 3PL INTEGRATION LLC operated certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

      531.     On March 29, 2019, it was the duty of defendant 3PL INTEGRATION LLC,

by its agents, servants, and/or employees, to keep the premises located at 299 Park

Avenue, in the City, County, and State of New York in a reasonably safe condition.

      532.     On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant FISHER-PARK

LANE OWNER LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

      533.     On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant FISHER

BROTHERS MANAGEMENT CO. LLC for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of

certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.

      534.     On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS CORPORATION for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain




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electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        535.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS HOLDINGS INC. for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        536.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant CONGRUITY

for the provision and performance of certain work, labor, and/or services, including but

not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        537.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant CONGRUITY

360 for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        538.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant MSDI LLC for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.




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        539.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant FAST FLEET

JFK for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        540.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant FAST FLEET

SYSTEMS, INC. for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        541.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant SMOOTH

OPERATORS SERVICES LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        542.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant FAST FLEET –

JFK for the provision and performance of certain work, labor, and/or services, including

but not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.

        543.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant WARREN




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BAINBRIDGE for the provision and performance of certain work, labor, and/or services,

including but not necessarily limited to the transport of certain electronic equipment

located at 299 Park Avenue, in the City, County, and State of New York.

       544.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant NICA, INC. for

the provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       545.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with plaintiff’s employer for the

provision and performance of certain work, labor, and/or services, including but not

necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

       546.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

directed, managed, and/or controlled the provision and performance of certain work,

labor, and/or services located at 299 Park Avenue, in the City, County, and State of

New York.

       547.   On or before March 29, 2019, defendant 3PL INTEGRATION LLC hired

individuals and/or entities to provide and perform certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

       548.   On or before March 29, 2019, defendant 3PL INTEGRATION LLC entered

into an agreement and/or contract (written or oral) for it to provide certain work, labor,




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and/or services at the premises known as 299 Park Avenue, in the City, County, and

State of New York.

      549.   On March 29, 2019, defendant 3PL INTEGRATION LLC was the manager

for work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      550.   On March 29, 2019, defendant 3PL INTEGRATION LLC was the general

contractor for certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      551.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees performed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      552.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees supervised certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      553.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees directed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      554.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees inspected certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      555.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees regulated certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.




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      556.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees controlled certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      557.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees managed certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      558.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees maintained certain work, labor, and/or services at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

      559.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees provided certain supplies for certain work, labor, and/or

services at the premises known as 299 Park Avenue, In the City, County, and State of

New York.

      560.   On March 29, 2019, defendant 3PL INTEGRATION LLC, its agents,

servants, and/or employees provided certain tools for certain work, labor, and/or

services at the premises known as 299 Park Avenue, In the City, County, and State of

New York.

      561.   On March 29, 2019, it was the duty of defendant 3PL INTEGRATION LLC

to provide a reasonably safe place to work for people performing alteration and other

covered work at the site.

      562.   On March 29, 2019, plaintiff JOVANIE CLARKE was lawfully on the

premises known as 299 Park Avenue, in the City, County, and State of New York.




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       563.   On March 29, 2019, plaintiff JOVANIE CLARKE was paid to work at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

       564.   On March 29, 2019, plaintiff JOVANIE CLARKE was in the course of his

employment, doing certain transportation, alteration, and/or other covered work at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

       565.   On March 29, 2019, plaintiff JOVANIE CLARKE was caused to become

seriously injured at the premises known as 299 Park Avenue, in the City, County, and

State of New York.

       566.   On March 29, 2019, plaintiff JOVANIE CLARKE was caused to become

seriously injured due to dangerous, defective, and hazardous conditions at his work site,

including but not limited to, a lack of appropriate safety devices and protocols.

       567.   Plaintiff JOVANIE CLARKE sustained a loss in excess of the Basic

Economic Loss, as defined by the New York State Insurance Law.

       568.   Plaintiff JOVANIE CLARKE suffered a "serious injury" within the meaning

of the Insurance Law of the State of New York.

       569.   The aforesaid incident and the serious injuries resulting therefrom were

due solely and wholly to the careless and negligent manner in which the defendants

managed, operated, maintained, controlled and supervised the aforesaid premises

and/or the work performed on the aforesaid premises, without the plaintiff in any way

contributing thereto.

       570.   Defendants were negligent, reckless, and careless in violating their duties to

persons lawfully on the aforesaid premises and to plaintiff in particular; in knowingly

causing, permitting, suffering, and/or allowing plaintiff to work in an unsafe work place;




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in failing to provide the plaintiff with adequate safety devices and/or the applicable

safeguards which would have prevent the subject incident; and were further negligent in

failing to take suitable precautions for the safety of persons lawfully on the aforesaid

premises.

       571.   Defendants, their agents, servants, and/or employees had actual notice of

the dangerous, defective, and/or hazardous conditions prior to the plaintiff’s incident.

       572.   Defendants, their agents, servants, and/or employees had constructive

notice of the dangerous, defective, and/or hazardous conditions prior to the plaintiff’s

incident.

       573.   Defendants, their agents, servants, and/or employees caused and/or

created the dangerous, defective, and/or hazardous conditions prior to the plaintiff’s

incident.

       574.   Defendants were further negligent in their recruitment, hiring, retaining,

supervising, and training of defendants’ agents, servants, employees, staff, and

personnel.

       575.   By reason of the foregoing and the negligence of the defendants, plaintiff

JOVANIE CLARKE was severely injured, bruised and wounded, suffered, still suffers and

will continue to suffer for some time physical pain and bodily injuries and became sick,

sore, lame and disabled.

       576.   By reason of the foregoing, plaintiff JOVANIE CLARKE was compelled to

and did necessarily require medical aid and attention, and did necessarily pay and

become liable therefor for medicines and upon information and belief, plaintiff will

necessarily incur similar expenses.




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        577.   By reason of the foregoing, plaintiff JOVANIE CLARKE has been unable

to attend his usual occupation and vocation in the manner required.

                     AS AND FOR A SECOND CAUSE OF ACTION

        578.   Plaintiff repeats and reiterates each and every allegation above as if set

forth more fully at length herein.

        579.   Defendants failed to provide plaintiff JOVANIE CLARKE with a safe place to

work.

        580.   Defendants failed to provide plaintiff JOVANIE CLARKE with proper safety

devices and/or adequate protection.

        581.   Defendants failed to provide plaintiff JOVANIE CLARKE with the proper

equipment to complete the work.

        582.   Defendants, their agents, servants, and/or employees were careless,

reckless, and negligent in failing to provide a safe and proper place for plaintiff

JOVANIE CLARKE to work, in violation of the laws and ordinances of the State of New

York, including but not necessarily limited to, as well as other federal, state, and local

statutes, ordinances, and regulations.

        583.   Defendants violated §§ 200, 240, 240(1), 240(2), 240(3), and 241(6) of the

New York Labor Law.

        584.   On March 29, 2019, plaintiff JOVANIE CLARKE was in the course of his

employment as a covered worker at the subject premises when he was injured as the

result of a faulty piece of equipment and lack of safety protection.

        585.   Plaintiff JOVANIE CLARKE’s injuries were caused solely and wholly as a

result of the defendants’ breach of their non-delegable duty to provide safety devices




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and to provide a reasonably safe place to work in accordance with Labor Law §§ 200,

240(1), and 241(6).

       586.   Defendants violated the Occupational Safety and Health Act (OSHA).

       587.   Defendants violated the Industrial Code of the State of New York.

       588.   By reason of the foregoing and the negligence of the defendants, plaintiff

JOVANIE CLARKE was severely injured, bruised and wounded and suffered, still

suffers and will continue to suffer for some time, physical pain and bodily injuries and

has become sick, sore, lame and disabled.

       589.   By reason of the foregoing, plaintiff JOVANIE CLARKE was compelled to

seek and did necessarily require medical aid, attention, and medication and did

necessarily expend and become liable thereof and upon information and belief, will

necessarily continue to incur for a substantial period of time such expenses.

       590.   Defendants failed to so alter, construct, renovate, demolish, equip,

arrange, operate, supervise, inspect, manage, and/or conduct the manner and method

of the work being performed at the aforementioned location as set forth above so as to

provide reasonable and adequate protection for life, health, and safety of plaintiff.

       591.   The violations by defendants, their agents, servants, and/or employees,

were substantial factors in causing plaintiff’s injuries.

       592.   As a result of the aforementioned violations of the Labor Law of the State

of New York, plaintiff was seriously injured.

       593.   As a result of the foregoing, defendants are liable to plaintiff for his

injuries.




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       594.   As a result of the foregoing, defendants are strictly liable to plaintiff for his

injuries.

       595.   Plaintiff hereby demands a trial by jury in the above-captioned action, of all

issues triable by a jury, pursuant to the Federal Rule of Civil Procedure 38.

       WHEREFORE plaintiff demands judgment against defendants, jointly, severally,

individually, and/or vicariously, on each and every count set forth herein for damages,

costs, interest, counsel fees, as well as all other relief this court deems just and proper.

DATED:        New York, New York
              April 29, 2020

                                               Yours, etc.,
                                               CELLINO & BARNES, P.C.

                                                /s/ Kathleen E. Beatty, Esq.
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